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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                  Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                  Case No. 19-34054 (SGJ)
            Reorganized Debtor.         )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                 Plaintiff,             )
vs.                                     )                                  Adv. Pro. No. 21-03007 (SGJ)
                                        )
HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL )
ESTATE PARTNERS, LLC), JAMES DONDERO, )
NANCY DONDERO, AND THE DUGABOY )
INVESTMENT TRUST                        )
                 Defendants.            )
                                        )

                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

        On September 7, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Order Approving Stipulation and Agreed Order Governing Discovery and Other
         Pre-Trial Issues [Docket No. 70]

Dated: September 10, 2021
                                                          /s/ Esmeralda Aguayo
                                                          Esmeralda Aguayo
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245

1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                  Exhibit A
                                                            Adversary Service List
                                                           Served via Electronic Mail


             Description                      CreditorName                 CreditorNoticeName                         Email
 Financial Advisor to Official                                        Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors     FTI Consulting                  O'Brien                       Daniel.H.O'Brien@fticonsulting.com
 Counsel for Nancy Dondero            Greenberg Traurig, LLP          Daniel P. Elms                elmsd@gtlaw.com
                                                                      Melissa S. Hayward, Zachery   MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC       Z. Annable                    ZAnnable@HaywardFirm.com
                                                                                                    ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment                                   Douglas S. Draper, Leslie A.  lcollins@hellerdraper.com;
 Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.   Collins, Greta M. Brouphy     gbrouphy@hellerdraper.com
 Counsel for UBS Securities LLC and                                   Andrew Clubok, Sarah          andrew.clubok@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP            Tomkowiak                     sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                   Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP            George                        Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                   Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP            Posin                         kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                 Zachary.Proulx@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP            Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                                    mclemente@sidley.com;
                                                                      Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
 Counsel for Official Committee of                                    Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP               Dennis M. Twomey              dtwomey@sidley.com
                                                                                                    preid@sidley.com;
                                                                      Penny P. Reid, Paige Holden pmontgomery@sidley.com;
 Counsel for Official Committee of                                    Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                   Sidley Austin LLP              Chandler M. Rognes            crognes@sidley.com
 Counsel for HCRE Partners, LLC
 (n/k/a NexPoint Real Estate Partners,                                Deborah Deitsch-Perez,        deborah.deitschperez@stinson.com;
 LLC)                                  Stinson LLP                    Michael P. Aigen              michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                            Exhibit B
                                                                      Adversary Service List
                                                                    Served via First Class Mail

            Description                         CreditorName                 CreditorNoticeName                  Address1               City     State    Zip
                                                                                                        2200 Ross Avenue, Suite
Counsel for Nancy Dondero               Greenberg Traurig, LLP          Daniel P. Elms                  5200                        Dallas       TX      75201
Counsel for the Dugaboy Investment                                      Douglas S. Draper, Leslie A.    650 Poydras Street, Suite
Trust and Get Good Trust                Heller, Draper & Horn, L.L.C.   Collins, Greta M. Brouphy       2500                        New Orleans LA       70130
Counsel for UBS Securities LLC and                                      Andrew Clubok, Sarah            555 Eleventh Street, NW,
UBS AG London Branch                    Latham & Watkins LLP            Tomkowiak                       Suite 1000                  Washington   DC      20004
Counsel for UBS Securities LLC and                                      Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
UBS AG London Branch                    Latham & Watkins LLP            George                          Ste. 2800                   Chicago      IL      60611
Counsel for UBS Securities LLC and                                      Jeffrey E. Bjork, Kimberly A.
UBS AG London Branch                    Latham & Watkins LLP            Posin                         355 S. Grand Ave., Ste. 100 Los Angeles CA         90071
Counsel for UBS Securities LLC and                                                                    1271 Avenue of the
UBS AG London Branch                    Latham & Watkins LLP            Zachary F. Proulx, Jamie Wine Americas                    New York    NY         10020
Counsel for HCRE Partners, LLC
(n/k/a NexPoint Real Estate Partners,                                   Deborah Deitsch-Perez,          3102 Oak Lawn Avenue,
LLC)                                    Stinson LLP                     Michael P. Aigen                Suite 777                   Dallas       TX      75219




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